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                                                                                   United States Bankruptcy Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                            IN THE UNITED STATES BANKRUPTCY COURT                      February 02, 2022
                              FOR THE SOUTHERN DISTRICT OF TEXAS                       Nathan Ochsner, Clerk
                                       HOUSTON DIVISION

 IN RE:                                              §
 WESTWIND MANOR RESORT                               §    Case No. 19-50026 (DRJ)
 ASSOCIATION, INC., et al.                           §       (Chapter 11)
       Debtors.                                      §    Jointly Administered


 FORCE 10 AGENCY SERVICES LLC,     §
 TRUSTEE OF THE CREDITOR TRUST     §
                                   §
      Plaintiff,                   §
                                   §
 VS.                               §                         ADV. P. NO. 21-03035
                                   §
 BRENDAN M. FLAHERTY               §
 BMF PROPERTIES, LLC;              §
 WARRIOR GOLF, LLC;                §
 WHOLESALE GOLF SUPPLY &           §
 SERVICES, INC.;                   §
 DOT COM ASSET MANAGEMENT, LTD.;   §
 WARRIOR CUSTOM STORAGE & RV, LP, §
 RIVERBOUND STORAGE                §
 MANAGEMENT, LLC                   §
 CIMARRON FOOD AND BEVERAGE, INC.; §
 WOLF CREEK FOOD AND               §
 BEVERAGE, LLC;                    §
 WARRIOR TENNESSEE FOOD AND        §
 BEVERAGE, LLC;                    §
 DWIGHT BECKSTRAND                 §
 (D/B/A BECKSTRAND LAW OFFICES);   §
 REED A. COLEY; AND                §
 COLEYDOCTER, INC.                 §
                                   §
      Defendants.                  §

  ORDER (I) GRANTING DEFAULT JUDGEMENT AGAINST CIMARRON FOOD AND
              BEVERAGE, INC. AND (II) TRANSFERRING LICENSES
                     (Related Adv. Pro. Docket Nos. 20 & 22)

        Upon the motion [Docket No. 20] (as amended at Docket No. 22, the “Motion”) of Force 10

Agency Services, LLC, in its capacity as Creditor Trustee of the Creditor Trust (“Plaintiff”) in the

above-captioned chapter 11 cases (the “Chapter 11 Cases”), for entry of an order (this “Order”)
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granting (I) a default judgment against defendant Cimarron Food and Beverage, Inc. (“Defendant”,

and collectively with all the above-referenced defendants, the “Defendants”) in the above-captioned

adversary proceeding (the “Adversary Proceeding”) and (II) directing that any liquor licenses held by

Defendant be transferred to Plaintiff’s designee; and the Court having determined that the Trustee’s

Original Complaint [Adv. Docket No. 1] (the “Complaint”) in the Adversary Proceeding was timely

and properly served on Defendant, and that the Defendant failed to file an appropriate and timely

answer to the Complaint or otherwise plead in the Adversary Proceeding; and the Court finding that

it has appropriate jurisdiction over the Adversary Proceeding and the Defendant and that venue is

proper in this district; and the Court having considered the arguments of counsel at the hearing on the

Motion; the Court finding that good and adequate notice of the Motion having been given under the

circumstances and it appear that no other or further notice need be provided; and the Court having

determined that just cause exists for the relief granted herein; and after due deliberation and sufficient

cause appearing therefor, IT IS HEREBY ORDERED THAT:

        1. The Motion is hereby GRANTED.

        2. Effective as of the date of entry of this Order, any liquor or similar such licenses held by,

             or in the name of, Defendant Cimarron Food and Beverage, Inc., including California

             liquor license #410705 (collectively, the “Liquor Licenses”), shall be the property of, and

             hereby deemed transferred to, Warrior Golf LLC, a Delaware limited liability company.

        3. Jeremy Rosenthal, solely in his capacity as the Creditor Trustee (the “Creditor Trustee”)

             of the Creditor Trust in the Chapter 11 Cases is hereby authorized to act as attorney-in-

             fact of Defendant and granted a limited power of attorney over Defendant for the limited

             purpose of executing any licenses, applications, or other documents to effectuate the terms

             of this Order, which shall be accepted by the applicable state agency as if executed by any

             duly authorized director or officer of Defendant.
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        4. Nothing herein shall be construed as a default judgment against any of the Defendants,

             with the exception of Defendant.

        5. The Court shall retain jurisdiction to hear and determine all matters arising from the

             implementation of this Order.



Date:Signed: February 01, 2022.

                                                ____________________________________
                                                   _____________________________
                                                DAVID  R. JONES David R. Jones
                                                   The Honorable
                                                UNITED   STATES
                                                   Chief United   BANKRUPTCY
                                                                States Bankruptcy JUDGE
                                                                                  Judge




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